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                                                                                           12/16/2022
                                 UNITED STATES COURT OF APPEALS                 DEBORAH S. HUNT, Clerk
                                      FOR THE SIXTH CIRCUIT



JOHN KOE

Plaintiff - Appellant



 v.
UNIVERSITY HOSPITALS HEALTH SYSTEMS,
                                                                        -------------
                                                            Case No: 22-3952

INC.; UNIVERSITY HOSPITALS CLEVELAND
MEDICAL CENTER

Defendants - Appellees




                                     MOTION FOR PAUPER STATUS

          I move to waive the payment of the appellate filing fee under Fed. R. App. P. 24 because I am a

pauper. This motion is supported by the attached financial affidavit.

          The issues which I wish to raise on appeal are:

 See attached.




Signed:   ~u
           __       /{_..a.._.._ _ _ __                     Date: December 14, 2022

Address: PO BOX 527

          NOVELTY OH 44072-0527




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FORM 4 - AFFIDAVIT ACCOMPANYING MOTION FOR PERMISSION TO APPEAL IN FORMA PAUPERIS
Updated: December 2018



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